UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
 GLOBAL GAMING PHILIPPINES, LLC,                               :
                                          Plaintiffs,          :
                                                               :   21 Civ. 2655 (LGS)
 -against-                                                     :
                                                               :        ORDER
 ENRIQUE K. RAZON, JR.., et al.,                               :
                                          Defendants.          :
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                                                               X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on May 13, 2021, the Court issued a Case Management Plan and Scheduling

Order which set a case management conference for January 13, 2022, at 10:40 a.m.,

approximately fourteen days after the close of all discovery. (Dkt. No. 51.)

        WHEREAS, on September 21, 2021, Magistrate Judge Netburn extended the deadline for

fact discovery to February 11, 2022, and on October 20, 2021, extended the deadline for expert

discovery to April 27, 2022. (Dkt. No. 173 (Netburn, M.J.).) It is hereby

        ORDERED that the case management conference scheduled for January 13, 2022, is

ADJOURNED to May 11, 2022, at 4:10 p.m. The conference will be telephonic and will occur

on the following conference line: 888-363-4749, access code: 5583333. The time of the

conference is approximate, but the parties shall be prepared to begin at the scheduled time.

Dated: January 6, 2022
       New York, New York
